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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 24-cv-00968-GPG-STV

EZAMIKA BROWN,

       Plaintiff,

v.

MARQUEZ, SERGEANT,
JUAREZ, CORRECTIONAL OFFICER,
MARK FAIRBAIRN, WARDEN,
LORENZO TOBIN, CAPTAIN,
LINDSAY GOUTY, HEALTH SERVICE ADMINISTRATOR,
NURSE LISA,
NURSE RAMONA,

       Defendants.


                       PROPOSED SCHEDULING ORDER1


                            1. DATE OF CONFERENCE
         AND APPEARANCES OF COUNSEL AND PRO SE PARTIES
       The Scheduling Conference will occur on July 17, 2024 at 11:30 a.m. before



1 Since Plaintiff is incarcerated and appearing pro se, Defendants’ counsel mailed a

letter to Plaintiff on June 27, 2024 containing instructions for completing his portions of
the within version of the proposed scheduling order. Plaintiff was instructed to return to
counsel via U.S. mail a version of the proposed scheduling order that included his input,
and to note any disputes or disagreements with the discovery schedule put forth by
Defendants. To date, Defendants’ counsel has received no response to their letter.
Accordingly, Defendants respectfully submit the within version of the proposed
scheduling order which contains only their input).
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Magistrate Judge Scott T. Varholak. Appearing for the parties are:

       Plaintiff, Ezamika Brown (No. 116759), appeared pro se:

        Arkansas Valley Correctional Facility
        127500 Hwy 96 at Lane 13
        Ordway, CO 81034

       Defendants Moraima Marquez, Jeremiah Juarez, Mark Fairbairn, Lindsay Gouty,

Lorenzo Tobin, and Lisa Hanks (“CDOC Defendants”) will be represented by:

        Gregory R. Bueno
        Abigail L. Smith
        Assistant Attorney General
        Civil Litigation & Employment Law Section
        1300 Broadway Street, 10th Floor
        Denver, CO 80203
        Telephone: (720) 508-6644 | (720) 508-6233
        Fax: (720) 508-6032
        E-Mail: gregory.bueno@coag.gov
                  abigail.smith@coag.gov

                           2. STATEMENT OF JURISDICTION
       This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

§§ 1331 and 1343 on the grounds that this action arises under 42 U.S.C. § 1983.

                      3. STATEMENT OF CLAIMS AND DEFENSES
       a.     Plaintiff: See operative Complaint

       b.     Defendants: Defendants submit that they did not use excessive force nor

were they deliberately indifferent to Plaintiff’s medical needs. Defendants will show that

they used an appropriate amount of force because Plaintiff was refusing orders to return

to his housing unit to declare a medical emergency. The evidence will also demonstrate


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that Defendants timely and appropriately afforded Plaintiff all necessary medical care.

       Defendants Marquez, Fairbairn, Gouty, and Tobin filed a motion for partial

dismissal of Plaintiff’s operative complaint on June 21, 2024. See Motion to Dismiss,

ECF No. 29. Specifically, Defendant Marquez has moved to dismiss the excessive for

claim against her, while Defendants Fairbairn, Gouty, and Tobin move for dismissal of

Plaintiff’s failure to train and failure to investigate and/or discipline claims. These

Defendants will raise additional defenses in the event their motion to dismiss is denied

in whole or in part.

       Defendants Juarez and Hanks intend on pursuing the following affirmative

defenses, including but not limited to:

       1.     Plaintiff’s Complaint fails, in whole or in part, to state a claim upon which

relief may be granted against Defendants.

       2.     Plaintiff cannot establish one or more essential elements of his remaining

Eighth Amendment claim(s).

       3.     Plaintiff’s claims are barred, in whole or in part, by the doctrine of qualified

immunity.

       4.     Defendants affirmatively assert that Plaintiff’s federal and state rights were

not violated and that Plaintiff has been afforded all the rights, privileges and immunities

granted by the United States Constitution and Colorado law.




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          5.     Plaintiff’s claims may be barred in whole or in part by the Prison Litigation

Reform Act, including, but not limited to, the physical injury and exhaustion

requirements of the Prison Litigation Reform Act.

          6.     Plaintiff is not entitled to any relief being sought or claimed in the operative

Complaint under the legal theories asserted therein.

          7.     Plaintiff may have failed to mitigate his damages, if any.

          8.     Plaintiff’s claimed damages, if any, may have been caused by individual(s)

or entity(ies) over whom or which Defendants have or had no control.

          9.     Plaintiff’s claimed damages may have been caused by his own

negligence.

          10.    Plaintiff’s claims for damages are limited and/or subject to all applicable

damages limitations and other similar provisions of both federal and state law.

          11.    Plaintiff may have failed to fulfill all conditions precedent to bringing this

action.

          c. Other Parties: None.

                                      4. UNDISPUTED FACTS
          The following facts are proposed as being undisputed by Defendants:

   a. Plaintiff was an inmate housed at Arkansas Valley Correctional Facility at all

          times relevant to this action.

   b. Defendant Mark Fairborn was the warden at Arkansas Valley Correctional

          Facility at all times relevant to this action.

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  c. Defendant Moraima Marquez was a Sergeant at Arkansas Valley Correctional

     Facility at all times relevant to this action.

  d. Defendant Jeremiah Juarez was a correctional officer at Arkansas Valley

     Correctional Facility at all times relevant to this action.

  e. Defendant Lindsay Gouty was a Health Service Administrator at Arkansas Valley

     Correctional at all times relevant to this action.

  f. Defendant Lorenzo Tobin was a Captain correctional officer at Arkansas Valley

     Correctional Facility at all times relevant to this action.

  g. Defendant Lisa Hanks was a Nurse at Arkansas Valley Correctional Facility at all

     times relevant to this action.




                           5. COMPUTATION OF DAMAGES
     a. Plaintiff: Plaintiff respectfully requests that the Court enter judgment in

        his favor and against the defendants and grant:

            a. Appropriate declaratory relief;

            b. Compensatory and consequential damages, including damages

                for physical harm, physical depression, humiliation, loss of

                enjoyment of life, and other pain and suffering on all claims

                allowed by law in an amount to be determined at trial;

            c. Monetary damages for all economic and noneconomic loss on
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                  all claims as allowed by law in an amount to be determined at

                  trial;

             d. Punitive damages on all claims allowed by law and in an

                  amount to be determined at trial;

             e. Attorneys’ fees and cost associated with this action on all claims

                  allowed by law;

             f. Pre and post judgment interest at the lawful rates; and

             g. Any further relief that this court deems just and proper, and any

                  other relief as allowed by law.


     b. Defendants: Defendants do not claim damages but reserve the

          right to assert counterclaims and/or cross-claims as necessary.


                  6. REPORT OF PRECONFERENCE DISCOVERY
                    AND MEETING UNDER FED. R. CIV. P. 26(f)
     a.      Because Plaintiff is incarcerated, the parties communicated by

             correspondence regarding the proposed Scheduling Order. On June 27,

             2024, Defendants’ counsel had an instructional letter and a copy of the

             Proposed Scheduling Order delivered to Plaintiff via U.S. mail. The parties

             have not held any other Rule 26(f) meeting.

     b.      Names of each participant and party he/she represented:

             i.   N/A.

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     c.    Rule 26(a)(1) disclosures do not apply to this case because Plaintiff is an

           unrepresented pro se prisoner. Fed. R. Civ. P. 26 (a)(1)(B)(iv).

     d.    Proposed changes, if any, in timing or requirement of disclosures under

           Fed. R. Civ. P. 26(a)(1): None.

     e.    Statement concerning any agreements to conduct informal discovery: None

           anticipated.

     f.    Statement concerning any other agreements or procedures to reduce discovery

           and other litigation costs, including the use of a unified exhibit numbering

           system: None at this point, other than the parties agree to the use of a

           unified exhibit numbering system.

     g.    Statement as to whether the parties anticipate that their claims or defenses will

           involve extensive electronically stored information, or that a substantial amount

           of disclosure or discovery will involve information or records maintained in

           electronic form. Defendants anticipate that most of the documentary

           evidence in this matter will be stored in readily accessible PDF format.

           Thus, while most of the evidence is electronically stored, the parties do

           not anticipate needing to address any of the issues typically associated

           with disputes over electronically-stored information.

     h.    Statement summarizing the parties' discussions regarding the possibilities

           for promptly settling or resolving the case. Defendants do not anticipate

           settlement discussions will be productive prior to the exchange of written

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            discovery.

                                    7. CONSENT
      All parties have not unanimously consented to the exercise of jurisdiction of

a magistrate judge.

                          8. DISCOVERY LIMITATIONS
     a.     Modifications which any party proposes to the presumptive numbers of

            depositions or interrogatories contained in the Federal Rules: Defendants

            propose that the parties may take a maximum of seven depositions each,

            inclusive of the parties themselves, and a maximum of one deposition per

            expert witness (if any). The parties do not propose any alterations to the

            presumptive number of interrogatories (twenty-five).

     b.     Limitations which any party proposes on the length of depositions: The parties

            do not plan to exceed the limits set forth in Fed. R. Civ. P. 30(a)(2)(A)(I).

     c.     Limitations which any party proposes on the number of requests for

            production and/or requests for admission: The parties do not plan to

            propose more than twenty-five (25) requests for production and/or

            requests for admission.

     d.     Deadline for service of Interrogatories, Requests for Production of Documents

            and/or Admissions: December 6, 2024 (45 days before discovery cutoff).

     e.     Other Planning or Discovery Orders: None, except for perhaps protective

            orders on certain sensitive CDOC records/policies.

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                         9. CASE PLAN AND SCHEDULE
     a.    Deadline for Joinder of Parties and Amendment of Pleadings: September

           20, 2024.

     b.    Discovery Cut-off: January 20, 2025.
     c.    Dispositive Motion Deadline: February 28, 2025.

     d.    Expert Witness Disclosure:

           i.   The parties shall identify anticipated fields of expert testimony, if any.

                    i. Plaintiff:

                    ii. Defendants: Defendants do not anticipate offering any expert

                       testimony at this time but reserve the right to do so in the event

                       discovery reveals that retaining an expert and/or presenting

                       non-retained expert testimony would be appropriate.

           ii. Limitations which the parties propose on the use or number of expert

                witnesses: Two retained experts per side, plus any treating health care

                providers.

           iii. The parties shall designate all experts and provide opposing counsel and any

                pro se parties with all information specified in Fed. R. Civ. P. 26(a)(2) on or

                before _October 22, 2024____________. [This includes disclosure of

                information applicable to “Witnesses Who Must Provide a Written Report”

                under Rule 26(a)(2)(B) and information applicable to “Witnesses Who Do Not

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                    Provide a Written Report” under Rule 26(a)(2)(C).

              iv. The parties shall designate all rebuttal experts and provide opposing counsel

                    and any pro se party with all information specified in Fed. R. Civ. P. 26(a)(2)

                    on or before __December 2, 2024_____________. [This includes

                    disclosure of information applicable to “Witnesses Who Must Provide a

                    Written Report” under Rule 26(a)(2)(B) and information applicable to

                    “Witnesses Who Do Not Provide a Written Report” under Rule 26(a)(2)(C).]

       [Notwithstanding the provisions of Fed. R. Civ. P. 26(a)(2)(B), no exception to the

requirements of the Rule will be allowed by stipulation unless the stipulation is in writing and

approved by the court. In addition to the requirements set forth in Rule 26(a)(2)(B)(I)-(vi), the

expert’s written report also must identify the principles and methods on which the expert relied

in support of his/her opinions and describe how the expert applied those principles and

methods reliably to the facts of the case relevant to the opinions set forth in the written report.]

      a.      Identification of Persons to Be Deposed:

              i.       Plaintiff. (3-4 hours).

              ii.      All treating physicians or other medical providers and/or staff.

                     10. DATES FOR FURTHER CONFERENCES
a. Status conferences will be held in this case at the following dates and times:

                                                                                               .

b. A final pretrial conference will be held in this case on ____________at o’clock _____m.

   A Final Pretrial Order shall be prepared by the parties and submitted to the court no later

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    than seven (7) days before the final pretrial conference.

                        11. OTHER SCHEDULING MATTERS
a. Identify those discovery or scheduling issues, if any, on which counsel after a good

    faith effort, were unable to reach an agreement. None at this time.

b. Anticipated length of trial and whether trial is to the court or jury: Defendants respectfully

    request a three-day jury trial.

c. Identify pretrial proceedings, if any, that the parties believe may be more efficiently or

    economically conducted in the District Court’s facilities at 212 N. Wahsatch Street,

    Colorado Springs, Colorado 80903-3476; Wayne Aspinall U.S. Courthouse/Federal

    Building, 402 Rood Avenue, Grand Junction, Colorado 81501-2520; or the U.S.

    Courthouse/Federal Building, La Plata County Courthouse 1060 E. 2nd Avenue, Suite 150,

    Durango, Colorado 81301. None.

                12. NOTICE TO COUNSEL AND PRO SE PARTIES
        The parties filing motions for extension of time or continuances must comply with

D.C.COLO.LCivR 6.1(c) by serving the motion contemporaneously upon the moving

attorney's client.

        Counsel will be expected to be familiar and to comply with the Pretrial and Trial

Procedures or Practice Standards established by the judicial officer presiding over the trial of

this case.

        With respect to discovery disputes, parties must comply with D.C.COLO.LCivR 7.1(a).

        Counsel and unrepresented parties are reminded that any change of contact

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information must be reported and filed with the Court pursuant to the applicable local

rule.

                 13. AMENDMENTS TO SCHEDULING ORDER
         This scheduling order may be altered or amended only upon a showing of good

cause.
                               17th
DATED at Denver, Colorado, this __ day of July, 2024.

                                                  BY THE COURT:


                                                  Scott T. Varholak
                                                  United States Magistrate Judge
APPROVED:

 s/ _____________________________               s/ Gregory R. Bueno
 Ezamika Brown, Inmate No. 122323               Gregory R. Bueno
 Arkansas Valley Correctional Facility          Assistant Attorney General
 127500 Hwy 96 at Lane 13                       Civil Litigation and Employment Law
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                                                Attorney for Defendants




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